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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

CIVIL ACTION NO. 1:10cv0536 (WOB)

TERRY JACOBS, ET AL.                                          PLAINTIFFS

VS.                                   ORDER

LAMBDA RESEARCH, INC.,
ET AL.                                                        DEFENDANTS



      This matter is before the Court on Defendants’ Motion for

an Award of Attorneys’ Fees and Costs (Doc. 78), Relator’s

Memorandum in Opposition (Doc. 85), and Defendants’ Reply in

Support (Doc. 88).

      The Court has reviewed these filings carefully and

concludes, consistent with its prior Memorandum Opinion and

Order (Doc. 75), that sanctions against plaintiff and his

counsel are warranted in this matter.

      However, the Court qualifies this conclusion as follows.

First, sanctions under Fed. R. Civ. P. 11 are not appropriate

because defendants did not satisfy the “safe harbor” provision

of that rule.     That is, defendants’ counsel’s letter to

plaintiff’s counsel of June 20, 2013 (Doc. 52-12)1 did not attach

a proposed sanctions motion and does not cover the entire period

for which sanctions are sought.          See generally First Bank of
1
 The parties agree that the date on this letter of “June 20, 2012” contains a
typographical error and that the correct year of the letter is 2013.
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Marietta v. Hartford Underwriters Ins. Co., 307 F.3d 501, 527-28

(6th Cir. 2002); Ridder v. City of Springfield, 109 F.3d 288,

296-97 (6th Cir. 1997).

      Second, sanctions against plaintiff Terry Jacobs will be

based on the False Claims Act (“FCA”) only, as 28 U.S.C. § 1927

does not authorize the imposition of sanctions on a represented

party.    Rentz v. Dynasty Apparel Indus., Inc., 556 F.3d 389, 396

n.6 (6th Cir. 2009) (citing Claiborne v. Wisdom, 414 F.3d 715,

722-24 (7th Cir. 2005)).        Against plaintiff, defendants will be

awarded their reasonable attorneys’ fees and expenses from the

date of the filing of this action, based on the Court’s findings

relating to plaintiff’s improper purposes in bringing his FCA

claims.    See Doc. 75 at PAGEID 1801-1804.

      Third, sanctions against plaintiff’s counsel, James

DeRoche, will be based only on 28 U.S.C. § 1927 for unreasonably

and vexatiously multiplying proceedings by pursuing these claims

after a point when it should have been clear that that they were

frivolous.     After again reviewing the record, the Court

concludes that that point could be no later than June 20, 2013,

when defendants’ counsel provided to Mr. DeRoche the sworn

testimony of three government witnesses which was discussed at

length in this Court’s summary judgment opinion.              See Doc. 75.

Mr. DeRoche’s liability for defendants’ fees and expenses after

                                       2
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June 20, 2013, will be joint and several with the liability of

plaintiff.

      Finally, although plaintiff arguably has had the

opportunity to contest the reasonableness of defendants’

attorneys’ fees and costs –- since he was provided with the

relevant records prior to filing his response to the pending

motion –- the Court will nonetheless allow briefing on that

discrete issue so that the record is fully developed.2

      Therefore, having reviewed this matter, and the Court being

sufficiently advised,

      IT IS ORDERED that:

      (1) Defendants’ Motion for an Award of Attorneys’ Fees and

          Costs (Doc. 78) be, and is hereby, GRANTED IN PART AND

          DENIED IN PART, consistent with the above discussion;

          and

      (2) On or before January 23, 2015, defendants shall file a

          renewed motion for attorneys’ fees and costs in accord

          with this order, separately calculating the amount of

          sanctions to be awarded against plaintiff and his



2
 Plaintiff’s contention that he is entitled to an evidentiary hearing on the
matter of sanctions is not well founded. See Metz v. Unizan Bank, 655 F.3d
485, 491 (6th Cir. 2011) (“In this circuit, there is no requirement that a
full evidentiary hearing be held before imposing sanctions.”) (quoting
Wilson-Simmons v. Lake Cnty. Sheriff’s Dep’t, 207 F.3d 818, 822 (6th Cir.
2000)).

                                       3
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          counsel.    Response and reply times shall be governed by

          the Local Rules.



          This 11th day of December, 2014.




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